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AO 106 (Rev. 01/09) Application for a Search Warrant


                                                       UNITED STATES DISTRICT COURT
                                                                                      for the
                                                                            Western District of New York

                        In the Matter ofthe Search of                                                 )
       (Briefly describe the property to he sear,:hed or identify the person by name and address.)
                                                                                                      )
a black TCL Tracfone, Model A501DL, IMEI:                                                             )               Case No. 22-MJ- 4003
015641000144653                                                                                       )
                                                                                                      )
                                                                                                      )
                                                                                                      )
                                                                                                      )
                                                      APPLICATION FOR A SEARCH WARRANT
         I, Christa Thomas, a federal law enforcement officer, request a search warrant and state under penalty ofperjury
that I have reason to believe that there is now concealed on the following person or property located in the Western
District ofNew York (identijj, the person or describe properly lo be searched and gil'e its location): a black TCL Tracfone, Model A50 lDL,
IMEI: 015641000144653, as further described in Attachment A.
        The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):See Attachment B, Items to be Searched for and Seized, all of which are evidence,
contraband, fruits, and instrumentalities of violations of Title ll. United States Code, Sections 2252A(a)(5)(B),
and all of which are more fully described in the application and affidavit filed in support of these warrants, the
allegations of which are adopted and incorporated by reference as if fully set forth herein.
The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
           _x_ evidence ofa crime;
           _x_ contraband, fruits ofcrime, or other items illegally possessed;
           _X_ property designed for use, intended for use, or used in committing a crime;
           __ a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of_lL U.S.C. § 2252A(a)(5)(B), and the application is based on these facts which
are continued on the attached sheet.

                    D Delayed notice of_ days (give exact ending date ifmore than 30 days: -----/ 1s
            requested under 18 U.S.C. § 3103a, the basis ofwhich is set forth    attached eet.
                                                                              ../



                                                                                                          Christa Thomas, SA, FBI
                                                                                                                     Printed name and title

Application submitted electronically by email/.pdfand attested to me and before me as true and accurate by telephone
consistent with Fed. R. Crim. P. 4.1 and 41(d)(3).

Date: January 12, 2022
                                                                                                                       Judge's signature

City and state:                     Rochester, New York                                              Hon. Marian W. Payson, United States Magistrate Judge
                                                                                                                      Printed name and title
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                                   Attachment A

                       Description of Property to be Searched

     The contents of a black, TCL Tracfone cellular telephone, Model A501DL, IMEI
Number: 015641000144653 (the “SUBJECT PHONE”)
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                                       Attachment B

                            Items to be Searched for and Seized

       a.    Images of child pornography and files containing images of child pornography
in any form;

        b.      Records or correspondence pertaining to the possession of visual depictions of
minors engaged in sexually explicit conduct, as defined in Title 18 United States Code 2256,
that were transmitted or received using a digital device or some other facility or means of
interstate or foreign commerce; and

     c.   Records or other items which show evidence of ownership or use of the
SUBJECT PHONE.
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(Final Version Mag. Payson 5-4-04)
ADDENDI,JM TO SEARCH'WARRANT
SEARCH OF COMPUTERS

       l.   The computq or electronic media search authorized by this warrant shall be
completed within 60 days from the date of the warrant unless, for good cause demonstrated,
such date is extended by Order of this Court.

       2.   In conducting the search authorized by this warrant, the govemment shall make
reasonable effcrts to u. Iize computer search methodology to search only for files, documents
or other electronically stored information which are identified in the warrant itself.

       3.  Should the govemment not locate any of the items specified in the warrant (or
other fruits, contraband, instrumentalities, or property subject to forfeiture) within the
authorized search period (including any extensions granted), the govemment shall retum the
computer or elecEonic media to the owner.

       4.   In any circumstance not coveredby paragraph three (3) above, upon completion of
the search, the govemment, upon request of the owner of the computer, shall promptly retum
to the owner ofthe computer copies of all flles and documents requested and specified by the
owner, excluding any items or files seized pursuant to the warrant or other fruits, contraband,
instrumentalities or property subject to forfeiture.

       5.  If electronically stored data or documents have been identified by the govemment
pursuant to this warrant, or other fruits, contraband, instrumentalities or property subject to
forfeiture, the govemment may retain the original hard drive or other data storage mechanism
pending furthei order of this Court. The retention of the original hard drive or other data
itorage mechanism does not relieve the govemment of its obligation to retum to the owner of
the computer files, documents or other electronically stored information identified in
pangraph (4) above.

       6.    Nothing in this warrant shall limit or prevent the govemment from retaining the
computer or electronic media as fruits, contraband or an instrumentality of a crime or
commencing forfeiture proceedings against the computer and/ or the data contained therein.
Nothing in this warranf shall limit or prevent the owner of the computer or electronil media
from (a) filing a morion with the Court pursuant to Rule 4l(g) of the Federal Rules of Criminal
Procedure for the Retum of Property or (b) making a request of the govemment to retum
certain specffied files, data, software or hardware.

       7. Should there be a dispute or question over ownership of any computer or any
electronically stored data or documents stored therein, the govemment shall promptly notifr
this Court so that such dispute or question can be resolved.
